               Case 6:17-cv-00448-MC        Document 54              Filed 11/08/18     Page 1 of 23




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                                  UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                                     Eugene


       JENNIFER JOY FREYD,                                                            CV.6:17-cv-448-MC

                                         Plaintiff,
                                                                ANSWER AND AFFIRMATIVE
              v.                                                DEFENSES OF UNIVERSITY OF
                                                                OREGON AND HAL SADOFSKY
       UNIVERSITY OF OREGON,MICHAEL H.                          TO SECOND AMENDED
       SCHILL and HAL SADOFSKY,                                 COMPLAINT

                                      Defendants.



              In answer to Plaintiffs Second Amended Complaint, the University of Oregon

      ("University") and Hal Sadofsky ("Dean Sadofsky"), collectively, "Defendants," respond as

       follows: including with the following general statement which is necessary to correct

       misstatements in the narrative of Plaintiff's Second Amended Complaint:

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        Page 1 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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                Case 6:17-cv-00448-MC          Document 54               Filed 11/08/18   Page 2 of 23




               While tenure related faculty share many common characteristics, they often perform

       different duties, like serving as a department head or director of a research institute, or writing

       for grants and then supervising personnel hired to administer the grant. Those types of additional

       duties and related accountabilities and responsibilities may result in legitimate and lawful pay

       differences and mean that jobs are not comparable or substantially equal, and faculty are

       compensated with a view to these differences.

               The Second Amended Complaint fails to acknowledge such differences and instead

       concludes that Plaintiff is paid less than several male counterparts for discriminatory reasons.

       But when Plaintiff is compared to faculty with equal or comparable duties in her department, she

       is the highest paid faculty in that unit, and those paid more than Plaintiff do not perform equal or

       comparable work.'

               Further, because retention offers have repeatedly been held to be a lawful practice,

       because Plaintiff is paid more than any other faculty member within her unit who performs equal

       or comparable work, and because Plaintiff has not been restricted in her ability to seek and

       obtain outside offers, the University's practice of providing retention offers has not adversely

       affected her. And even if it did, that effect would fall upon both men and women in the

       Psychology Department, and would be consistent with the controlling collective bargaining

       agreement, the associated retention salary adjustment guidelines, business necessity, industry

       practice, and the decisions of this court and many others which have considered the practice.2

               Accordingly, Defendants, in answer to Plaintiff's Second Amended Complaint, admit,

       deny and allege as follows:



         Plaintiff's salary from a university wide perspective is within the top 14% of salaries for all
       tenure related faculty.
       2 It is widely accepted that universities would suffer if they did not respond to outside offers, and
       that losing faculty members at that level disrupts the students, affects the profile of the
       University, impacts its ability with future recruitment, and can result in a loss of significant grant
       funding, as those with retention offers often have large grants. That is equally applicable to
       males and females.
        Page 2 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
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               Case 6:17-cv-00448-MC          Document 54              Filed 11/08/18   Page 3 of 23




                                     INTRODUCTORY STATEMENT

                                                           1.

              In answer to paragraph 1 of Plaintiff's Second Amended Complaint, Defendants admit

       that Plaintiff has been a full professor in the University's Psychology Department for almost 25

       years, and that she is paid less than some of her male colleagues. Defendants state further that

       Plaintiff is also paid more than some of her male colleagues. Defendants also admit that the

       Psychology Department has recognized some differences in salary within the Department, but

       state further that pay differences are based upon differing duties, responsibilities and

       accountabilities and a number of other factors unrelated to gender.              Defendants deny the

       allegation that the University has engaged in discrimination towards Plaintiff, or that it has

       violated any federal or state laws. Except as expressly admitted, Defendants deny the remaining

       allegations in paragraph 1.

                                                    PARTIES

                                                           2.

              Defendants admit the allegations contained in paragraphs 2 — 4 of Plaintiff's Second

       Amended Complaint, which relate to employment and residency status and the fact that the

       University is subject to Title IX, subject to its Tenth Affirmative Defense.

                                                           3.

              In answer to paragraph 5 of Plaintiff's Second Amended Complaint, Defendants do not

       represent and are not answering on behalf of defendant President Schill. President Schill has

       separate counsel to defend against this legal action. No response is required for the allegations

       against President Schill, who is responding separately.

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        Page 3 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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               Case 6:17-cv-00448-MC          Document 54              Filed 11/08/18   Page 4 of 23




                                                           4.

              In answer to paragraph 6 of Plaintiff's Second Amended Complaint, Defendants admit

       that Hal Sadofsky is currently the Divisional Dean for Natural Sciences in the College of Arts

       and Sciences in the University of Oregon, and that he is a resident of Lane County, Oregon.

                                                           5.

              In answer to paragraphs 7 and 8 of Plaintiff's Second Amended Complaint, Defendants

       admit that this Court has jurisdiction over Plaintiffs claims and that venue is proper, subject to

       Defendant's Tenth Affirmative Defense, below.

                                                      FACTS

                                                           6.

              In answer to paragraph 9 of Plaintiff's Second Amended Complaint, Defendants admit

       that the University's Psychology Department is a top-ranked department in the College of Arts

       and Sciences according to the National Research Council's 2010 relative rankings.

                                                           7.

              In answer to paragraph 10 of Plaintiff's Second Amended Complaint, Defendants deny

       the allegation that salaries in the Psychology Department are to be deteiniined solely by seniority

       and merit. Salaries are also determined based on job duties, which may be performed in the

       Psychology Department and within other departments, the University's Collective Bargaining

       Agreement, and a given department or college's funding, amongst some of the factors. This

       means, for example, that a faculty member with the same number of years of experience may be

       paid more or less depending on whether the faculty member is also performing certain

       administrative duties, like acting as a department head, or performing supervisory and

       administrative duties associated with administering a grant, to the extent the faculty member has

       grant funding. In some instances, the difference in duties between faculty members is

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        Page 4 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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               Case 6:17-cv-00448-MC          Document 54               Filed 11/08/18   Page 5 of 23




        highlighted by the fact that some faculty members are in the bargaining unit and others, because

       they are supervisors or managers under PECBA,are not.

                                                            8.

              In answer to paragraph 11 of Plaintiff's Second Amended Complaint, Defendants admit

       that persons within the University Psychology Department conducted a Self Study in the spring

       of 2016, and that the resulting report summarized the Department's recent developments, current

       status, and plans for the future. While Defendants admit the existence of such a study, they do

       not admit that the conclusions stated in that study are accurate.

                                                            9.

              In answer to paragraph 12 of Plaintiff's Second Amended Complaint, Defendants admit

       that the Self Study contained these statements, but do not admit that the statements or

       conclusions stated in that study are accurate.

                                                           10.

              In answer to paragraph 13 of Plaintiff's Second Amended Complaint, Defendants admit

       that an External Review Committee evaluated the Department of Psychology in June, 2016,

       which report Plaintiff selectively quotes. Defendants deny Plaintiff's allegation to the extent it

       has been drafted so as to suggest inaccurately that this report concluded that there is gender

       disparity in faculty salaries; such reference in the report was made to ensure that it was reporting

       the nature of an expressed concern that it was considering, not the results ofthe review.

                                                           11.

              In answer to paragraph 14 of Plaintiff's Second Amended Complaint, Defendants admit

       that both reports recognize that retention offers contribute to the differences in salary levels.

       Defendants further respond that the External Review Committee made a number of points about

       the retention offer approach, including that "[a]dmittedly, the numbers are small," "the gender

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        Page 5 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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               Case 6:17-cv-00448-MC          Document 54               Filed 11/08/18   Page 6 of 23




       difference is smaller when the number of years since hiring date ... or retention resolution date is

       considered," and that "this suggests there is no overt bias[.]"

                                                           12.

              In answer to paragraph 15 of Plaintiffs Second Amended Complaint, Defendants admit

       that these statements were noted, but do not admit that the statements or conclusions are

       accurate.

                                                           13.

              In answer to paragraph 16 of Plaintiffs Second Amended Complaint, Defendants admit

       that Department Heads have advocated for raises for female Professors, including Jennifer Freyd,

       however, such Heads have also specifically stated the personal belief that Plaintiffs salary is not

       based on her gender and that other male professors in the department doing similar work are paid

       less than her. Defendants further state that Dean Sadofsky discussed pay-related issues at a

       Department faculty meeting, as they related to the Department, though not solely in relation to

       Plaintiff. Upon more detailed review of the data provided to him, he believed that the pay

       differentials presented to him were explained by retention events and were unrelated to gender.

                                                           14.

              In answer to paragraph 17 of Plaintiff's Second Amended Complaint, Defendants deny

       the allegation that Deans Sadofsky and Marcus were unwilling to use available monies to address

       salary increases. Departments are bound by the Collective Bargaining Agreement as well as the

       University's overall financial position, both of which change from time to time, as well as other

       important considerations. Equity raises have at times been available in the past; however,

       because Plaintiff is the highest-paid faculty member in her unit when she is appropriately

       compared to faculty members with similar duties to herself, she has not been affected by the

       availability of equity raises one way or another.

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        Page 6 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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                Case 6:17-cv-00448-MC         Document 54               Filed 11/08/18   Page 7 of 23




                                                           15.

               In answer to paragraph 18 of Plaintiffs Second Amended Complaint, Defendants admit

       that Plaintiff has been a Full Professor in the Psychology Department since 1992, has worked on

       the concept of betrayal trauma, and was given the listed awards in 2009, 2012, and 2014. Except

       as expressly admitted, Defendants deny the remaining allegations in paragraph 18, and further

       deny the implication that her accomplishments are superior to her male peers.

                                                           16.

               In answer to paragraph 19 of Plaintiff's Second Amended Complaint, Defendants admit

       that a conference was scheduled in April 2017 relating to institutional betrayal. Defendants lack

       sufficient knowledge about the remaining allegations in paragraph 19 and therefore deny the

       same.

                                                          17.

               In answer to paragraph 20 of Plaintiff's Second Amended Complaint, Defendants admit

       that Plaintiff's 2015 post-tenure review included the statements quoted.              Defendants lack

       sufficient knowledge about the remaining allegations in paragraph 20 and therefore deny the

       same.

                                                          18.

               In answer to paragraph 21 of Plaintiff's Second Amended Complaint, Defendants

       respond that professors within the Psychology Department have different duties, experience

       levels, education, grant-funding, research, and perfoiniance, amongst other factors, in addition to

       years of service. Defendants deny the allegation that Plaintiff holds the same responsibility,

       effort, or skill as all of the other full professors in the Psychology Department. Except as

       expressly admitted, Defendants deny the remaining allegations in paragraph 21.

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        Page 7 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
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               Case 6:17-cv-00448-MC            Document 54              Filed 11/08/18   Page 8 of 23




                                                             19.

              In answer to paragraph 22 of Plaintiff's Second Amended Complaint, Defendants deny

       the allegation that Plaintiff's salary has been impacted by discrimination. Defendants lack

       sufficient knowledge about the remaining allegations in paragraph 22 and therefore deny the

       same. Defendants also deny that a single comment by a male peer more than two decades ago

       has any bearing on Plaintiff's salary.

                                                            20.

              In answer to paragraph 23 of Plaintiff's Second Amended Complaint, Defendants admit

       that in May 2014, Plaintiff provided the Head of the Psychology Department with her own

       analysis of full professor salaries, which Plaintiff claimed showed a statistically significant

       gender disparity in pay.     Defendants further state that Plaintiff's analysis was based on

       insufficient and inaccurate data in that it omitted several male faculty members and significantly

       overstated the salary of another male faculty member. Except as expressly admitted, Defendants

       deny the remaining allegations in paragraph 23.

                                                            21.

              In answer to paragraph 24 of Plaintiff's Second Amended Complaint, Defendants admit

       that in April 2015, Plaintiff and two colleagues provided their own statistical analysis of full

       professor salaries, which Plaintiff and her colleagues claimed showed a statistically significant

       gender disparity in pay. Defendants do not admit the accuracy oftheir analysis.

                                                            22.

              In answer to paragraph 25 of Plaintiff's Second Amended Complaint, Defendants

       respond that the 2013 Collective Bargaining Agreement held that the College of Arts and

       Sciences would recommend a 4% raise for faculty who met expectations and an 8% raise to

       faculty who exceeded expectations. In "rare cases" the College of Arts and Sciences would

      "recommend awarding larger raises up to 12% if there is a strong case that this is necessary to



        Page 8 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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               Case 6:17-cv-00448-MC         Document 54                Filed 11/08/18   Page 9 of 23




       address equity issues with faculty of comparable merit and time-in-rank within the

       department[.]"

                                                          23.

              In answer to paragraph 26 of Plaintiff's Second Amended Complaint, Defendants lack

       sufficient knowledge about Department Head Mayr's knowledge of availability of raises and

       therefore deny the same. Defendants further state, however, that Department Head Mayr himself

       stated that he gave Plaintiff the maximum possible raise he could provide, or as close as he could

       get. Defendants admit that Plaintiff was given an eight percent raise after her 2015 review.

       Except as expressly admitted, Defendants deny the remaining allegations in paragraph 26.

                                                          24.

              In answer to paragraph 27 of Plaintiff's Second Amended Complaint, Defendants deny

       the allegations about Plaintiffs salary in relation to her male peers. Defendants also state that

       Department Head Mayr did advocate for Plaintiff to receive an increase, but he has

       acknowledged that several types of analyses could be used to highlight her salary and that he

       attempted to argue for her in a way that was most impactful, rather than scientifically. In

       particular, the analysis he used did not include another highly-paid female in the department, and

       did not control for merit and other duties, which would have increased Plaintiffs position with

       respect to the regression line and demonstrated Plaintiff was not underpaid. He also noted, as did

       all others who were interviewed, that regression analyses can be of limited value when

       conducted with a sample size as small as that in the Psychology Department. Department Head

       Mayr also acknowledged that there are inequities in the Psychology Department, but said they

       are not due to gender, as there are two others in the department who are underpaid, who are

       male. Defendants lack sufficient knowledge about the remaining allegations in paragraph 27 and

       therefore deny the same.

       //



        Page 9 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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               Case 6:17-cv-00448-MC          Document 54              Filed 11/08/18   Page 10 of 23




                                                           25.

              In answer to paragraph 28 of Plaintiff's Second Amended Complaint, Defendants

       respond that when merit raises were given in January 2017, Plaintiff received a reasonable merit

       raise. Plaintiff did not receive an equity adjustment, because she was already highly-paid in

       relation to her position, and such adjustments were not then available by the terms of the

       applicable Collective Bargaining Agreement.             Defendants admit that at this time, Plaintiff

       reiterated some of her beliefs and personal calculations about her salary but do not agree that her

       suggested analyses or her beliefs were accurate.

                                                           26.

              Defendants admit the allegations in paragraph 29 of Plaintiff's Second Amended

       Complaint. Defendants further state that the memo referenced in this paragraph, which was sent

       by Department Head Mayr to Associate Dean Hal Sadofsky and Dean of the College of Arts and

       Sciences (CAS) Andrew Marcus, also notes that retention offers can and do impact salaries of

       male professors, stating "there are two (highly meritorious) male faculty with relatively low

       salaries. What distinguishes these from their higher-paid counterparts is the fact that—as the

       majority of female colleagues—they have not had recent salary negotiations due to a senior hire

       or retentions."

                                                          27.

              In answer to paragraph 30 of Plaintiff's Second Amended Complaint, Defendants admit

       that Department Head Mayr asked for an additional raise for Plaintiff, but do not agree that the

       suggested figures or analysis were accurate. Defendants further state that Department Head

       Mayr has acknowledged that several types of analyses could be used to highlight Plaintiffs

       salary, that he attempted to argue for her in a way that was most impactful, rather than

       scientifically, and that he acknowledged that there are inequities in the Psychology Department

       but said they are not due to gender.



        Page 10 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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              Case 6:17-cv-00448-MC         Document 54               Filed 11/08/18   Page 11 of 23




                                                          28.

              In answer to paragraph 31 of Plaintiff's Second Amended Complaint, Defendants admit

       that Department Head Mayr sent an email to the Psychology Department discussing a number of

       topics relating to the department's review, including pay equity and lobbying the College of Arts

       and Sciences. The same email stated that "[a]the same time it is important for us to also try to

       influence the broader discussion on internal equity both on the side of the administration and the

       union[.]" He identified a "first step" as establishing a "union liaison person who can attend the

       critical meetings and keep us informed about the ongoing discussions." Defendants further

       respond that Department Head Mayr states that he has no evidence that the University is less

       likely to respond to an outside offer for a woman rather than for a man, and that the greater

       number of outside offers for men may relate directly to the fact that there are simply more men in

       the department. He recounts a few instances of outside offers for male faculty where the

       department simply declined to make a retention offer, whereas all women in the department who

       have presented outside offers have been met with a retention offer by the University.

                                                          29.

              In answer to paragraph 32 of Plaintiff's Second Amended Complaint, Defendants admit

       that Plaintiff did not receive an equity adjustment, because she was already highly-paid in

       relation to her position, and such adjustments were not then available by the terms of the

       applicable Collective Bargaining Agreement.

                                                          30.

              In answer to paragraph 33 of Plaintiff's Second Amended Complaint, Defendants admit

       that Deans Marcus and Sadofsky met with Professor Freyd and afforded her an opportunity to

       discuss her pay, during which they stated that she was very highly paid within the College of

       Arts and Sciences. Except as expressly admitted, Defendants deny the remaining allegations in

       paragraph 33.



        Page 11 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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              Case 6:17-cv-00448-MC          Document 54             Filed 11/08/18   Page 12 of 23




                                                          31.

              In answer to paragraph 34 of Plaintiff's Second Amended Complaint, Defendants admit

       that Plaintiff is paid less than some of the male Professors in the Psychology Department.

       Defendants further state that h-index is one type of metric used in academia, but one which

       changes over time, and which Plaintiff herself has admitted is not without its limitations.

       Defendants deny the allegation that those male individuals who are paid more than Plaintiff are

       similarly or less accomplished as to issues that are pertinent to those comparisons to be

       perfoiiiied under the laws which Plaintiff cites, and further denies the implications that they are

       proper comparators to her.     Except as expressly admitted, Defendants deny the remaining

       allegations in paragraph 34.

                                                         32.

              In answer to paragraph 35 of Plaintiff's Second Amended Complaint, Defendants

       respond that President Schill was aware the Plaintiff submitted a complaint to the Oregon Bureau

       of Labor and Industries on or around February 9, 2017 which related to her allegations of

       gender-based inequities in pay. Defendants further state that the University hired an outside

       investigator to evaluate pay practices and specific salaries within the Psychology Department,

       but before that investigation was completed, Plaintiff withdrew her complaint from the Oregon

       Bureau of Labor and Industries and filed this lawsuit. Defendants further state that President

       Schill is represented by separate counsel and Defendants are not answering on his behalf.

       Defendants lack sufficient knowledge about the remaining allegations in paragraph 35 and

       therefore deny the same.

                                                         33.

              In answer to paragraph 36 of Plaintiff's Second Amended Complaint, Defendants admit

       that Plaintiff has filed a complaint with the Oregon Bureau of Labor & Industries and the EEOC

      //



        Page 12 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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               Case 6:17-cv-00448-MC        Document 54               Filed 11/08/18   Page 13 of 23




       and was issued notices of right to sue, but further states that she elected to withdraw the

       complaint before she was required to present any evidence of her claims.

                                     FIRST CLAIM FOR RELIEF
                                   EQUAL PAY ACT,29 U.S.C. §206(d)
                                          (AGAINST UO)

              Defendants incorporate paragraphs 1 — 33 above as if fully set forth herein.

                                                         34.

              In answer to paragraph 37 of Plaintiffs Second Amended Complaint, Defendants admit

       that the University is an employer subject to the Equal Pay Act, 29 U.S.C. §206(d).

                                                         35.

              In answer to paragraphs 38 — 42 of Plaintiffs Second Amended Complaint, Defendants

       deny the allegations.

                                   SECOND CLAIM FOR RELIEF
                                TITLE VII — DISPARATE TREATMENT
                                           (AGAINST UO)

              Defendants incorporate paragraphs 1 — 35 above as if fully set forth herein.

                                                         36.

              In answer to paragraphs 43 — 49 of Plaintiffs Second Amended Complaint, Defendants

       deny the allegations.

                                     THIRD CLAIM FOR RELIEF
                                   TITLE VII — DISPARATE IMPACT
                                           (AGAINST UO)

              Defendants incorporate paragraphs 1 — 36 above as if fully set forth herein.

                                                         37.

              In answer to paragraphs 50 — 53 of Plaintiffs Second Amended Complaint, Defendants

       deny the allegations.

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        Page 13 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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               Case 6:17-cv-00448-MC         Document 54               Filed 11/08/18   Page 14 of 23




                                      FOURTH CLAIM FOR RELIEF
                                       TITLE IX,20 U.S.C. §1681(A)
                                            (AGAINST UO)

               Defendants incorporate paragraphs 1 — 37 above as if fully set forth herein.

                                                          38.

               In answer to paragraph 54 of Plaintiff's Second Amended Complaint, Defendants admit

       the University receives federal funds and is subject to Title IX of the Education Amendments of

       1972.

                                                          39.

               In answer to paragraphs 55 — 59 of Plaintiff's Second Amended Complaint, Defendants

       deny the allegations.

                               FIFTH CLAIM FOR RELIEF
           EQUAL PROTECTION CLAUSE OF THE UNITED STATES CONSTITUTION,14TH
                                    AMENDMENT
                     (AGAINST DEFENDANTS SCHILL AND SADOFSKY)

               Defendants incorporate paragraphs 1 — 39 above as if fully set forth herein.

                                                          40.

               In answer to paragraphs 60 — 66 of Plaintiff's Second Amended Complaint, Defendants

       deny the allegations. Defendants further state that President Schill is represented by separate

       counsel and Defendants are not answering on his behalf.

                               SIXTH CLAIM FOR RELIEF
                EQUAL RIGHTS AMENDMENT OF THE OREGON CONSTITUTION
                                ARTICLE 1, SECTION 46
                                    (AGAINST UO)

               Defendants incorporate paragraphs 1 — 40 above as if fully set forth herein.

                                                          41.

               In answer to paragraphs 67 — 69 of Plaintiff's Second Amended Complaint, Defendants

       deny the allegations.

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        Page 14 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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                Case 6:17-cv-00448-MC         Document 54             Filed 11/08/18   Page 15 of 23




                                    SEVENTH CLAIM FOR RELIEF
                                ORS 659A.030 — DISPARATE TREATMENT
                                            (AGAINST UO)

                Defendants incorporate paragraphs 1 — 41 above as if fully set forth herein.

                                                          42.

                In answer to paragraphs 70 — 74 of Plaintiffs Second Amended Complaint, Defendants

       deny the allegations.

                                     EIGHTH CLAIM FOR RELIEF
                                   ORS 659A.030 — DISPARATE IMPACT
                                            (AGAINST UO)

                Defendants incorporate paragraphs 1 — 42 above as if fully set forth herein.

                                                          43.

                In answer to paragraphs 75 — 78 of Plaintiff's Second Amended Complaint, Defendants

       deny the allegations.

                                      NINTH CLAIM FOR RELIEF
                                 ORS 652.220 — WAGE DISCRIMINATION
                                            (AGAINST UO)

                Defendants incorporate paragraphs 1 — 43 above as if fully set forth herein.

                                                          44.

                In answer to paragraphs 79 — 82 of Plaintiff's Second Amended Complaint, Defendants

       deny the allegations.

                               TENTH CLAIM FOR RELIEF
             BREACH OF CONTRACT — COVENANT OF GOOD FAITH AND FAIR DEALING
                                     (AGAINST UO)

                Defendants incorporate paragraphs 1 — 44 above as if fully set forth herein.

                                                          45.

                In answer to paragraph 83 of Plaintiff's Second Amended Complaint, Defendants admit

       that a contract of employment contains an implied covenant of good faith and fair dealing.

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        Page 15 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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               Case 6:17-cv-00448-MC         Document 54              Filed 11/08/18   Page 16 of 23




                                                          46.

              In answer to paragraphs 84 — 86 of Plaintiff's Second Amended Complaint, Defendants

       deny the allegations.

                                         AFFIRMATIVE DEFENSES

              Without assuming the burden of proof except where required by law, Defendants state as

       follows:

                                      FIRST AFFIRMATIVE DEFENSE
                                       FAILURE TO STATE A CLAIM

                                                          47.

              Plaintiff's Second Amended Complaint, in whole or in part, fails to state a claim upon

       which relief can be granted.

                                                          48.

              Plaintiffs Equal Pay Act allegations fail to state a claim for relief because the basis for

       any pay disparities is not unlawful nor is it gender-based, and Plaintiffs allegations fail to take

       into account that there is no legal basis to challenge a retention raise as being a violation of the

       law. Plaintiff further admits that she earned more than the average of males in her department,

       and further states that her compensation was higher than several male full professors and

       substantially higher than other males. Defendants also state that for all years relevant hereto

       until her retirement, Helen Neville, a female, was the highest paid full professor in the

       Psychology Department.

                                                          49.

              Plaintiffs claim for disparate treatment is insufficient as a matter of law as she admits

       that any disparity between her pay and the small number of male faculty who were paid more is

       the result of a retention raise, which is a lawful compensation practice. Plaintiff further admits

       that she, as well as anyone else in the Psychology Department at the University of Oregon,

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        Page 16 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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               Case 6:17-cv-00448-MC         Document 54               Filed 11/08/18   Page 17 of 23




       would have been able to obtain an outside offer from another institution, which is the precursor

       event which allows the possibility of a retention offer.

                                                           50.

               Plaintiffs disparate impact claim fails to state a claim for relief because Plaintiff has

       never been individually affected nor denied consideration for an adjustment, because it fails to

       identify any statistical disparity, because any complained of practice affected men and women

       equally, because Plaintiff has not identified a specific practice with any reasonable particularity,

       and because by Plaintiff's admission any faculty member in her department could choose to

       consider outside offers.

                                                           51.

              Plaintiffs Title VII claim fails to state a claim for relief because she has not complied

       with the administrative exhaustion requirements of that law.

                                                           52.

              Plaintiffs Title IX claim is legally insufficient because the pay disparity of which

       Plaintiff complains was the result of a lawful employment practice. and because Title VII

       supplants Title IX in employment matters.

                                                           53.

              Plaintiffs claim for punitive damages under Title IX is legally insufficient because such

       damages may not be recovered under Title IX.

                                                           54.

              Plaintiffs claim for violation of the Equal Protection Clause of the 14th Amendment,

       through 42 U.S.C. §1983 is legally insufficient because Plaintiff does not assert and cannot

       establish that Dean Sadofsky was acting outside the scope of his official capacities or that he

       acted with intent to discriminate, and because officials acting in their official capacities are not

      "persons" under §1983 with respect to retrospective relief



        Page 17 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
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               Case 6:17-cv-00448-MC          Document 54              Filed 11/08/18   Page 18 of 23




                                                           55.

              Plaintiffs claim for wage discrimination is insufficient as a matter of law as she does not

       perfono work of comparable character as the males to whom she compares herself; her work

       does not involve substantially similar knowledge, skill, effort, or responsibility, because her job

       requires different skillsets and does not include the same responsibilities and accountabilities.

                                                           56.

              To the extent Plaintiffs fifth claim for relief incorporates her disparate impact theories

       those claims are insufficient as a matter of law and don't identify a specific practice Plaintiff

       alleges to have resulted in the alleged impact.

                                                           57.

              Plaintiff has failed to state a claim for breach of contract because she alleges an implied

       covenant which does not reinforce the terms of any agreement, or which would alter the terms

       thereof, or which contradicts the collective bargaining agreement.

                                    SECOND AFFIRMATIVE DEFENSE
                                      FACTOR OTHER THAN SEX

                                                           58.

              The differentials in pay underlying Plaintiff's action arise from a factor other than sex, in

       that they are not based on or derived from a sex-based differential in compensation, they are job-

       related with respect to the position in question, they are consistent with business necessity, and

       are used reasonably in light of their purpose and the University's practices. Consistent with both

       established precedent and case law in the Ninth Circuit, even pay structures based upon market

       factors can alone constitute a "factor other than sex" if reasonable and effectuating a business

       policy, as Defendants do here.



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        Page 18 — ANSWER AND AFFIRMATIVE DEFENSES OF'UNIVERSITY OF OREGON
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               Case 6:17-cv-00448-MC         Document 54               Filed 11/08/18   Page 19 of 23




                                     THIRD AFFIRMATIVE DEFENSE
                                        FAILURE TO MITIGATE

                                                          59.

              Plaintiff has failed to exercise reasonable care and diligence to mitigate alleged damages,

       if any. In the event Plaintiff establishes any claims, Defendants are entitled to an offset in the

       amount that Plaintiff could have earned in the exercise of reasonable diligence.

                                   FOURTH AFFIRMATIVE DEFENSE
                                       GOOD FAITH EFFORTS

                                                          60.

              At all times, Defendants made good faith efforts to comply with all applicable state and

       federal laws.

                                     FIFTH AFFIRMATIVE DEFENSE
                                       DUPLICATIVE REMEDIES

                                                          61.
              Plaintiff is not entitled to duplicative remedies for the same underlying action or omission

       under the various statutes invoked in this action.

                                     SIXTH AFFIRMATIVE DEFENSE
                                              ESTOPPEL

                                                          62.

              Plaintiff is estopped from the relief sought by having failed to seek out and/or secure

       competitive outside offers in order to seek a retention offer from the University, consistent with

       the colleagues against whom she compares her salary, and consistent with her belief and

       assertion that she would have been able to secure such an offer.

                                  SEVENTH AFFIRMATIVE DEFENSE
                                     COMPLIANCE WITH LAW

                                                          63.

              Defendants' policies and actions were at all times taken as a result of their reasonable

       good faith understanding of state and federal law.


        Page 19 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
        AND HAL SADOFSKY TO SECOND AMENDED COMPLAINT
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              Case 6:17-cv-00448-MC          Document 54              Filed 11/08/18   Page 20 of 23




                                    EIGHTH AFFIRMATIVE DEFENSE
                                            TIMELINESS

                                                          64.

              To the extent that any or all of Plaintiffs claims seek recovery for acts preceding the

       applicable statutes of limitation, those claims are untimely.

                                NINTH AFFIRMATIVE DEFENSE
                    CONTROLLING COLLECTIVE BARGAINING AGREEMENT

                                                          65.

              Defendants' practice of providing retention-related salary adjustments is protected

       against any challenge that would impair the obligation of contract.

                                                          66.

              Plaintiff's claims and challenges are barred by the provisions of the applicable Collective

       Bargaining Agreement.

                                                          67.

              Plaintiff failed to exhaust her grievance and other remedies under the provisions of the

       Collective Bargaining Agreement.

                                    TENTH AFFIRMATIVE DEFENSE
                                      ELEVENTH AMENDMENT

                                                          68.

              Defendants allege that this court lacks subject matter jurisdiction over Plaintiff's claims,

       and that Defendants are immune from suit, in whole or in part, pursuant to the Eleventh

       Amendment to the United States Constitution.

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        Page 20 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
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               Case 6:17-cv-00448-MC         Document 54               Filed 11/08/18   Page 21 of 23




                                  ELEVENTH AFFIRMATIVE DEFENSE
                                     DISCRETIONARY IMMUNITY

                                                           69.

               For Plaintiff's state law tort claims, at all material times, Defendants were acting in the

       performance or omission of duties or functions that were discretionary, such that they are

       immune from liability and damages pursuant to ORS 30.265(6)(c).

                                   TWELFTH AFFIRMATIVE DEFENSE
                                       QUALIFIED IMMUNITY

                                                          70.

              Plaintiffs Section 1983 claims are barred by the doctrine of qualified immunity. Dean

       Sadofsky is entitled to qualified immunity from liability under 42 U.S.C. § 1983 because he

       acted in good faith, and it not the case that a reasonable public official in Dean Sadofsky's

       position would have known that the actions alleged would have violated a clearly established

       Constitutional right of Plaintiffs.

                                THIRTEENTH AFFIRMATIVE DEFENSE
                                    RESERVATION OF RIGHTS

                                                          71.

              Defendants reserve the right to allege additional affirmative defenses and to add

       counterclaims should they become apparent during discovery



              WHEREFORE,Defendants pray for judgment as follows:

              1.      For judgment against Plaintiff on all claims for relief;

              2.      For an award of Defendant's reasonable costs, attorneys' fees, and disbursements

       incurred herein; and

       //

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        Page 21 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
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             Case 6:17-cv-00448-MC        Document 54              Filed 11/08/18   Page 22 of 23




             3.    For all other and further relief as the Court deems just, equitable, and proper.


             DATED this 8th day of November, 2018.

                                                       BARRAN LIEBMAN LLP


                                                             s/Paula A. Barran
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                                                       and Hal Sadofsky




        Page 22 — ANSWER AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON
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                Case 6:17-cv-00448-MC        Document 54              Filed 11/08/18      Page 23 of 23




                                        CERTIFICATE OF SERVICE

                1 hereby certify that on the 8th day of November, 2018, I served the foregoing ANSWER

             AND AFFIRMATIVE DEFENSES OF UNIVERSITY OF OREGON AND HAL

             SADOFSKY TO SECOND AMENDED COMPLAINT on the following parties at the

             following addresses:

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             by the following indicated method or methods set forth below:

                El     Electronic Filing using the Court's ECF System

                ❑      Facsimile

                ❑      First-class mail, postage prepaid

                ❑      Hand-delivery

                ❑      Overnight courier, delivery prepaid

                ❑      E-mail

                                                                s/Paula A. Barran

                                                                 Paula A. Barran
                                                                 Shayda Zaerpoor Le
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